                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                          )
                                                   )   1:09-CR-144
 v.                                                )
                                                   )   Collier/Carter
 DONALD FILLERS, et al.                            )


                                  MEMORANDUM & ORDER

        Before the Court is Defendant Watkins Street Project (“Defendant”)’s motion to admit an

 excerpt of grand jury testimony given by witness Halbert Warden as substantive evidence and have

 that excerpt submitted as an exhibit to the jury (Court File No. 358). The government opposes the

 motion (Court File No. 359), and Defendant replied to the government’s response (Court File No.

 360). For the reasons discussed below, the Court will GRANT IN PART and DENY IN PART

 Defendant’s motion.



 I.     BACKGROUND & LEGAL STANDARD

        A.      Background

        This ruling comes in the midst of an ongoing criminal trial involving five Defendants

 charged with conspiracy to defraud the United States and violate the Clean Air Act, 18 U.S.C. § 371,

 and with other regulatory offenses, false statements, and obstruction of justice. On the third day of

 the trial, the government called Halbert Warden, an employee of ADC Systems, Inc. (“ADC”) to

 testify regarding his work for Defendant. ADC provided asbestos abatement services for Defendant

 on part of the Standard Coosa Thatcher site. Although somewhat confused, Mr. Warden appeared

 to testify on cross-examination that, at the time Defendant contracted with ADC to remove asbestos




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 from the Standard Cosa Thatcher site, a site survey was not necessarily required before asbestos

 abatement could commence. Mr. Warden further testified he believed this legal requirement–to have

 a survey conducted before asbestos abatement begins–changed in 2009. According to Mr. Warden’s

 testimony on cross-examination, although no survey was required before abatement work begins in

 2004, such a survey is now required.

        In the grand jury excerpt offered by Defendant in the motion currently before the Court, Mr.

 Warden appeared to testify that a building must be surveyed before asbestos abatement begins.

 Moreover, the context of Mr. Warden’s grand jury testimony suggests he is discussing his

 understanding at the time ADC performed work for Defendant at the Standard Coosa Thatcher Site

 in 2004. Admittedly, Mr. Warden’s grand jury testimony is not entirely clear on this point, and his

 grand jury testimony indicates he believes getting a survey done is a requirement for the owner of

 the building to be abated, and not for the entity providing abatement services.

        During Defendant’s cross-examination of Mr. Warden at trial, counsel for Defendant read

 that portion of Mr. Warden’s grand jury testimony transcript now being offered as an exhibit (see

 Court File No. 358, ex. 1). When Defendant asked Mr. Warden why he did not tell the grand jury

 that the requirement to have a site surveyed prior to commencing asbestos abatement changed in

 2009, Mr. Warden responded that he was never asked about the change. Mr. Warden admitted he

 did not tell the grand jury a pre-abatement survey was, as far as he knew, not required in 2004.

        Defendant at trial offered as substantive evidence the part of Mr. Warden’s grand jury

 testimony that Defendant read aloud to the jury. The government indicated it wanted clarification

 of what portions of the grand jury testimony Defendant sought to offer. The Court noted

 Defendant’s offer, but deferred ruling until the parties had the opportunity to brief the issue.


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         B.      Legal Standard

         Federal Rule of Evidence 801(d)(1)(A) provides a statement is not hearsay if “[t]he declarant

 testifies and is subject to cross-examination about a prior statement, and the statement is inconsistent

 with the declarant’s testimony and was given under penalty of perjury at a trial, hearing, or other

 proceeding or in a deposition.” A trial judge is accorded wide latitude in determining whether

 inconsistency exists, United States v. Matlock, 109 F.3d 1313, 1319 (8th Cir. 1997), and “[i]t is well

 established that a witness’s ‘limited and vague recall of events, equivocation, and claims of memory

 loss’ can constitute prior inconsistent statements under Fed.R.Evid. 801(d)(1),” United States v.

 Mayberry, 540 F.3d 506, 516 (6th Cir. 2008) (internal citation omitted). When a court finds an

 inconsistency between a witness’s prior sworn statement and trial testimony, the prior statement can

 be admitted as substantive evidence. United States v. Hadley, 431 F.3d 484, 511-12 (6th Cir. 2005).

         Even when evidence is admitted under Fed.R.Evid. 801(d)(1)(A) as substantive evidence,

 however, the established practice is for the prior testimony to be read aloud to the jury. United

 States v. Smith, 419 F.3d 521, 528 (6th Cir. 2005) (“Only where ‘the court determines that admitting

 the document as an exhibit is necessary’ should the document be admitted, and then only with an

 appropriate instruction regarding ‘the limited purpose of the exhibit.’”) (quoting Engebretsen v.

 Fairchild Aircraft Corp., 21 F.3d 721, 730 n.2 (6th Cir. 1994)). The reading aloud of a witness’s

 prior inconsistent statement–as opposed to submitting a transcript of that statement to the

 jury–allows the jury to consider that inconsistency as both substantive and impeachment evidence,

 but does not risk unduly influencing the jury. See United States v. Walker, 1 F.3d 423, 430 (6th Cir.

 1993) (“The potential for double exposure to selected testimony to improperly influence a jury has

 long been recognized.”). In Smith, the Sixth Court faulted the trial court because it “offered no


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 justification for its decision to eschew the established practice of simply reading the transcript of the

 testimony aloud to the jury . . . , made no finding with regard to whether the admission of the

 transcript as an exhibit was necessary . . . , nor []explain[ed] its decision to provide the deliberating

 jury with a copy of the transcript.” Smith, 419 F.3d at 528.1



 II.     ANALYSIS

         Relying on Fed. R. Evid 801(d)(1)(A), Defendant moves to have that portion of Mr.

 Warden’s grand jury testimony Defendant read aloud to the jury during Mr. Warden’s cross-

 examination admitted as substantive evidence and submitted to the jury as an exhibit. The

 government offers two arguments in response. First, the government contends Defendant has not

 adequately established an inconsistency between Mr. Warden’s grand jury testimony and his trial

 testimony. Second, and in the alternative, the government requests the Court, if it finds the grand

 jury testimony admissible as substantive evidence under Rule 801(d)(1)(A), to admit an additional

 portion of Mr. Warden’s grand jury “to avoid misleading the jury” (Court File No. 359, p. 3, n.1).

 The Court will address these two arguments, before turning to whether the portion of Mr. Warden’s

 grand jury testimony offered by Defendant should be submitted as an exhibit to the jury, an issue

 neither party has discussed in any detail.

         The ship has sailed on the government’s first argument. Counsel for Defendant, as well as

 counsel for Defendant Donald Fillers and counsel for Defendant David Wood, cross examined Mr.

 Warden extensively regarding survey requirements in connection with asbestos abatement. Mr.


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          Although the Sixth Circuit determined the trial court’s failure to explain its decision to
 provide the jury with grand jury testimony constituted an abuse of discretion, Smith, 419 F.3d at 528,
 it subsequently concluded the trial court’s error was harmless, id. at 530.

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 Warden’s answers to these questions often proved equivocal and confusing. Mr. Warden also

 indicated he suffered memory loss or at a minimum difficulties remembering his previous

 testimony.2 Taken together, Mr. Warden’s equivocation regarding survey requirements at the

 Standard Coosa Thatcher site and his generalized memory difficulties suffice to satisfy the test for

 prior inconsistent statements under Fed. R. Evid. 801(d)(1)(A). Mayberry, 540 F.3d at 516.

 Additionally, the portion of grand jury testimony to which the government now objects has already

 been read aloud to the jury by counsel for Defendant during Mr. Warden’s cross-examination–

 without objection from the government–to demonstrate the inconsistency in Mr. Warden’s prior

 grand jury testimony and his trial testimony. Because prior inconsistent statements are admissible

 as substantive evidence under Fed. R. Evid. 801(d)(1)(A), Hadley, 431 F.3d at 511-12, the portion

 of grand jury testimony offered by Defendant as a prior inconsistent statement is admissible as

 substantive evidence. Thus, the Court GRANTS Defendant’s motion to the extent it seeks

 admission of this grand jury testimony as substantive evidence.

        Before turning to whether the portion of Mr. Warden’s grand jury testimony offered by

 Defendant should properly be submitted to the jury as an exhibit, the Court will quickly dispose of

 the government’s request to supplement the offered grand jury testimony with additional testimony.

 The government articulates this argument in a single sentence in a footnote at the end of its brief,

 and provides no rule of evidence or case law in support of its position. Nor is the Court aware of

 any authority favoring–or indeed permitting–this approach. Accordingly, the Court will not



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           Indeed, when first questioned during cross-examination by counsel for Defendant Fillers
 about his grand jury testimony, Mr. Warden stated he did not remember ever appearing before the
 grand jury. After being shown the transcript of his testimony, Mr. Warden stated “Apparently I have
 [testified in front of the grand jury], if that’s what this [grand jury testimony transcript] says.”

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 accommodate the government’s request to admit the supplemental portion of Mr. Warden’s grand

 jury testimony offered by the government.

        The final issue the Court must decide is whether the portion of Mr. Warden’s grand jury

 testimony offered by Defendant should be submitted as an exhibit to the jury. Only a single

 sentence in the three briefs filed in connection with the present motion addresses this issue. In that

 sentence, Defendant argues it is “proper to admit the relevant portion of the transcript as an exhibit,”

 and cites United States v. Smith (Court File No. 358, p.1). Smith, however, tells a different story.

 It makes clear that the established method for submitting prior inconsistent grand jury testimony as

 substantive evidence for a jury is to read that grand jury testimony aloud. Smith, 419 F.3d at 528

 (recommending district court admit statements in grand jury transcript through testimony or having

 the document read to the jury). By contrast, submission of a prior inconsistent statement to the jury

 as an exhibit requires a finding by the trial court that submission in that form is necessary, and such

 a ruling should include “justification for its decision to eschew the established practice of simply

 reading the transcript of the testimony aloud to the jury.” Id.

           Here, Defendant has made no argument that submission of Mr. Warden’s grand jury

 testimony is necessary, and no argument for eschewing the established practice. Indeed, the Court

 has followed the established practice, as counsel for Defendant has already read aloud to the jury

 that portion of Mr. Warden’s grand jury testimony it now offers. Since the jury has already heard

 the relevant grand jury testimony, the Court is concerned with avoiding “the potential for double

 exposure to selected testimony to improperly influence a jury.” Walker, 1 F.3d at 430. Moreover,

 the Court concludes submission of that portion of Mr. Warden’s grand jury testimony offered by

 Defendant to the jury as an exhibit is not necessary. Accordingly, the Court DENIES Defendant’s


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 motion to the extent it seeks to have an excerpt of Mr. Warden’s grand jury testimony submitted to

 the jury as an exhibit.



 III.   CONCLUSION

        For the reasons discussed above, the Court GRANTS Defendant’s motion to admit the

 excerpt of grand jury testimony given by witness Halbert Warden as substantive evidence, but

 DENIES Defendant’s motion to the extent it seeks to have that excerpt submitted as an exhibit to

 the jury (Court File No. 358).

        SO ORDERED.

        ENTER.



                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE




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